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   4
        Attorney for Plaintiff
   5    LEE MONTES
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   8                          UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
   10
         LEE MONTES,                                CASE NO.: 2:20-cv-00468-MCS-RAO
   11
               Plaintiff,
   12                                               PLAINTIFF’S MOTION IN LIMINE
         v.
   13                                               NO. 3—EXCLUDE ANY EVIDENCE
         OFFICER DURAN, #673;                       OF PLAINTIFF’S EMPLOYMENT
   14    OFFICER RANEER, #664; CITY                 HISTORY
         OF EL MONTE; and, DOES 1-50,
   15    inclusive,
                                                        Pretrial Conference
   16          Defendants.                              Date:      April 19, 2021
   17                                                   Time:      2:00 p.m.
                                                        Judge:    Mark C. Scarsi
   18
   19                                                   Trial
                                                        Date:        May 4, 2021
   20                                                   Time:        8:30 a.m.
   21                                                   Judge:       Mark C. Scarsi

   22
   23
        TO THE COURT, THE PARTIES, AND THE ATTORNEYS OF RECORD:
   24
              COMES NOW Plaintiff Lee Montes (“Plaintiff”) and moves the Court in
   25
        limine for an order instructing Defendants, Defendants’ counsel, and witnesses on the
   26
        following matters:
   27
              1.     To exclude any and all evidence Plaintiff’s employment history; and
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                                   PLAINTIFF’S MOTION IN LIMINE NUMBER 3
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   1          2.    To direct Defendants and Defendants’ counsel to caution, warn, and
   2                instruct its witnesses to not make any references to such evidence, and
   3                to follow the same order.
   4          During the meet and confer process pursuant to Local Rule 7.3 on March 10,
   5    2021, Defendants’ counsel indicated that they would likely oppose this motion but
   6    will review the motion once filed. Conlogue Decl. ¶ 3.
   7
   8
        Date: March 29, 2021         THE LAW OFFICE OF KEVIN S. CONLOGUE
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   10                                   By: __/s/Kevin S. Conlogue_________
                                              Kevin S. Conlogue
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                                              Attorney for Plaintiff, LEE MONTES
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                                   PLAINTIFF’S MOTION IN LIMINE NUMBER 3
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   1                  MEMORANDUM OF POINTS AND AUTHORITIES
   2       I.    Introduction
   3            This case arises from the excessive force used by Defendant Officer Duran of
   4    the El Monte Police Department (“EMPD”) during the detention and arrest of
   5    Plaintiff on September 30, 2018. From the incident, Defendant Duran used force
   6    against Plaintiff, and arrested Plaintiff for allegedly violating Penal Code §
   7    148(a)—obstructing a peace officer. All charges were later dropped by the District
   8    Attorney’s Office. Plaintiff now seeks redress for his claims of unreasonable
   9    seizure, excessive force, and malicious prosecution against Defendant Duran
   10 pursuant to 42 U.S.C. § 1983 and Monell claim against Defendant City of El Monte.
   11           As part of his damages, Plaintiff is not claiming lost earnings from this
   12 incident.
   13           As such, Plaintiff’s employment history is irrelevant to the issues presented
   14 in this lawsuit, and should be excluded at trial.
   15      II. Argument
   16           Federal Rule of Evidence 402 provides in relevant part, “[i]rrelevant evidence
   17 is not admissible.” Under Federal Rule of Evidence 401, “[e]vidence is relevant if:
   18 (a) it has any tendency to make a fact more or less probable than it would be without
   19 the evidence; and (b) the fact is of consequence in determining the
   20 action.” Huddleston v. U.S., 485 U.S. 681, 682–92.
   21           And, the court may exclude relevant evidence under Federal Rule of Evidence
   22 403 if its probative value is substantially outweighed by a danger of one or more of
   23 the following: unfair prejudice, confusing the issues, misleading the jury, undue
   24 delay, wasting time, or needlessly presenting cumulative evidence. See Old Chief v.
   25 U.S., 519 U.S. 172, 180–92 (1997).
   26           Most importantly, a party’s financial condition is not relevant when there are
   27 no viable claims against that party for exemplary damages. See, e.g., Geddes v.
   28 United Financial Group, 559 F.2d 557, 560 (9th Cir. 1977).

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                                     PLAINTIFF’S MOTION IN LIMINE NUMBER 3
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   1          Here, Plaintiff is not claim lost earnings as part of his damages. Thus, his
   2    employment history is irrelevant and should be excluded at trial.
   3       III. Conclusion
   4          As a result of the foregoing, Plaintiff will be unfairly prejudiced and denied a
   5    fair trial unless if the foregoing evidence is excluded.
   6
        Date: March 29, 2021          THE LAW OFFICE OF KEVIN S. CONLOGUE
   7
   8                                     By: __/s/Kevin S. Conlogue_________
                                               Kevin S. Conlogue
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                                               Attorney for Plaintiff, LEE MONTES
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                                    PLAINTIFF’S MOTION IN LIMINE NUMBER 3
